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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff(s),                      CASE NO. 06-20626
v.
                                                 HONORABLE AVERN COHN
D-2, KENNY MATTHEWS,

              Defendant(s).
                                          /


          ORDER GRANTING MOTION TO ADJUST PAYMENT SCHEDULE

       Defendant pled guilty to a violation of 18 U.S.C. § 844(h) and 2, Use of Fire to

Commit any Federal Felony, Aiding and Abetting and is currently serving a 120 month

custody sentence. As part of the sentence defendant was directed to pay $5,685.00 in

restitution. Some of the restitution has been paid. Payment of the balance of the restitution

shall commence upon defendant’s release from custody and accordingly to a schedule

recommended by his Probation Officer. Defendant is not be required to pay restitution

while in custody.

       SO ORDERED.

Dated: March 8, 2012                          s/Avern Cohn
                                              AVERN COHN
                                              UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to Kenny Matthews,
41099-039, FCI Milan, P.O. Box 1000, Milan, MI 48160-1000 and the attorneys of record
on this date, March 8, 2012, by electronic and/or ordinary mail.


                                               s/Julie Owens
                                              Case Manager, (313) 234-5160
